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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                SOUTHERN DIVISION



 CASA, INC. and MAKE THE ROAD NEW
 YORK

        Plaintiffs,
                                                 Case No. 8:25-cv-00525-GLR
 v.

 KRISTI NOEM, in her official capacity as
 Secretary of Homeland Security, and
 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY

        Defendants.

                        REQUEST FOR EXPEDITED HEARING ON
                      MOTION FOR PARTIAL SUMMARY JUDGMENT

       Pursuant to Local Rule 105(6), Plaintiffs CASA, Inc. and Make the Road New York

(“Plaintiffs”) respectfully request that the Court schedule an expedited hearing between March

25 and April 4, 2025, and in any event prior to April 7, 2025, on Plaintiffs’ Motion for Partial

Summary Judgment (ECF No. 8) (the “Motion”), which seeks a declaratory judgment that certain

actions taken by the Defendants are contrary to law and of no effect. See Fed. R. Civ. Pro. 57

(“[T]he court may order a speedy hearing of a declaratory-judgment action.”).

       The Motion challenges as facially contrary to law actions by the Secretary of Homeland

Security purporting to early terminate Temporary Protected Status (“TPS”) for individuals from

Venezuela. See ECF No. 8-8. Expedited hearing and action on this matter is necessary because

the challenged agency actions will otherwise take effect on April 7, 2025. Id. at 3. As the

Memorandum in Support of the Motion explains, the governing statute precludes any termination

from taking effect any sooner than the expiration of the most recent term of TPS, 8 U.S.C. §
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1254a(b)(3)(B), which in this case is October 2, 2026, and this Court has authority under the

Administrative Procedure Act, 5 U.S.C. § 706(2), to set aside the Secretary’s unlawful actions that

purport to terminate TPS sooner than that.

       Pursuant to Local Rule 105(2), Defendants’ Opposition to the Motion, if any, is due on

March 17, 2025. Plaintiffs do not request that that time be shortened. Plaintiffs will accelerate

their Reply and file it on March 24, 2025.

       The undersigned contacted counsel for Defendants the Department of Homeland Security

and Secretary Noem to request their position on this Hearing Request. In response, Defendants

informed us that they will contend that the Motion is premature.




 Dated: March 5, 2025

 Respectfully submitted,



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